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                 EXTRUSION GROUP LLC - DIP
                          Balance Sheet
                         As of October 31, 2021                         Accrual Basis
                                                                          Oct 31, 21
ASSETS
   Current Assets
         Checking/Savings
             AXOS 74090 (Extrusion Group Operating Account)                    34,002
         Total Checking/Savings                                                34,002
         Accounts Receivable
             1100000 · Accounts Receivable (Accounts Receivable)                6,840
         Total Accounts Receivable                                              6,840
   Total Current Assets                                                        40,842
TOTAL ASSETS                                                                   40,842
LIABILITIES & EQUITY
   Liabilities
         Current Liabilities
             Accounts Payable
                  2100000 · Accounts Payable (Accounts Payable)             3,415,184
             Total Accounts Payable                                         3,415,184
             Other Current Liabilities
                  2076400 · EG Deferred Revenue (Deferred Revenue:EG)           9,172
             Total Other Current Liabilities                                    9,172
         Total Current Liabilities                                          3,424,356
   Total Liabilities                                                        3,424,356
   Equity
         3030000 · Retained Earnings (Retained Earnings)                   (3,386,318)
         Net Income                                                             2,804
   Total Equity                                                            (3,383,514)
TOTAL LIABILITIES & EQUITY                                                     40,842




                                                                                                   Page 1 of 1
